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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                           x
                                           :   Civil Action No.:
DAYSI HERNANDEZ, Individually, and On
                                           :
Behalf of All Others Similarly Situated,
                                           :
                                           :
                          Plaintiff,       :   CLASS ACTION COMPLAINT FOR
                                           :   VIOLATIONS OF THE AMERICANS WITH
      vs.                                  :   DISABILITIES ACT OF 1990 AND NEW
                                           :   YORK CITY HUMAN RIGHTS LAW
                                           :
FLYING DOG BREWERY, LLC,
                                           :
                          Defendant.       :
                                           :
                                           :   DEMAND FOR JURY TRIAL
                                           x




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       Plaintiff Daysi Hernandez (“Plaintiff”) brings this class action on an individual basis, and

on behalf of all others similarly situated, for declaratory relief, injunctive relief, and compensatory

damages—including statutory and punitive damages—against defendant Flying Dog Brewery,

LLC (“Defendant”), and alleges upon information and belief, personal knowledge of the Plaintiff,

and the investigation of counsel, the following:

                                   NATURE OF THE ACTION

       1.      Plaintiff is a visually impaired and legally blind person1 who brings this civil rights

class action against Defendant for its failure to design, construct, maintain, and operate its website

to be fully accessible to—and independently usable by—Plaintiff and other blind or visually

impaired people who use screen-reading software. Plaintiff asserts this action individually and on

behalf of all other visually impaired and/or legally blind individuals in the United States who have

attempted to access Defendant’s website and have been denied access to the equal enjoyment of

the goods offered on the website during the past three years from the date of the filing of the

complaint (the “Class” and “Class Period”).

       2.      On August 30, 2022, October 17, 2022, and October 23, 2022, Plaintiff browsed

and attempted to transact business on Defendant’s website, flyingdog.com (“website” or

“Defendant’s website”). Defendant is a craft beer brewer, who offers various merchandise

products on their website. One such product is the Brewhouse "Cut the Leash" t-shirt, which

Plaintiff found on Defendant's website while searching for a gift for her nephew who loves the

Flying Dog brand. Plaintiff was specifically intrigued by the t-shirt option on Defendant's website



1
  Plaintiff uses the terms “blind” or “visually impaired” to refer to all people with visual
impairments who meet the legal definition of blindness; namely, a visual acuity with correction of
less than or equal to 20 x 200. Some individuals who meet the definition of the term “legally
blind” have limited vision, while others have no vision at all.

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as she thought it would be a great gift. Plaintiff knew this was a gift her nephew would enjoy

wearing and was excited to give it to him.

         3.      August 30, 2022, October 17, 2022, and October 23, 2022, Defendant’s website

was not accessible to Plaintiff. Not only this but, Defendant’s website remains inaccessible to

Plaintiff and to those who are visually impaired and or legally blind. Despite Plaintiff’s continued

inability to complete a purchase, Plaintiff’s desire to purchase Brewhouse "Cut the Leash" t-shirt

remains. In fact, as soon as the barriers on Defendant’s website are cured, Plaintiff intends to

complete her purchase. Again, this is due to the love that she knows her nephew will have of the

gift which is present on the Website.

         4.      The Defendant’s website has the following accessibility issues that are preventing

Plaintiff, and all other visually impaired and or legally blind individuals, from making a purchase

there:

                   (a)    The Website is not properly coded to describe the button which allows

 the Plaintiff to add an item to her cart. This prevents Plaintiff from being able complete her

 purchase. As Plaintiff is unable to add an item to her cart, Plaintiff is prevented from completing

 a purchase as a sighted New York customer would.

                   (b)    When accessing the website, a pop-up appears which is not properly

 coded to allow the screen reader to close it using the cursor keys. This prohibits Plaintiff's ability

 to navigate the website to make a purchase as a sighted New Yorker would.

                   (c)    When the Plaintiff is navigating the website using the “tab” key, which is

 typical with using a screen reading software, the Website is not properly coded to read each link.

 Instead, the Website skips sections of the text on the page. This inability to relay all the

 information on the page prevents Plaintiff from making an informed decision regarding her



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 purchase as she is unable to get all the information that a sighted New York customer would

 receive.

                 (d)    The screen reader fails to read the links embedded on the page in the

 correct order. As a result, Plaintiff is unaware of what many of the links are for. Furthermore,

 the Plaintiff was unable to click on some other links using the screen reader. This delays

 Plaintiff’s ability to navigate the website, whereas a sighted New York customer would not be

 delayed.

                 (e)    Defendant’s website does not provide a text equivalent for many non-text

 elements, such as images on the webpage. Instead, the Website is coded to read it as a place

 holder. Plaintiff and other blind and visually impaired customers cannot see pictures, logos, or

 icons and therefore an alternative text is read aloud using synthesized speech. Sighted individuals

 can see the image. Unfortunately, Defendant’s website contains many images that lack alt-text,

 including the merchandise tee, and therefore the screen reader cannot accurately vocalize

 descriptions of the images to Plaintiff or other class members. As a result, Plaintiff and other

 blind and visually impaired customers are unable to determine the details of products on the

 website and make purchases. Plaintiff is therefore unable to make informed decisions and is

 prevented from purchasing items as a sighted New York customer would.

       5.      As a result of these continuing accessibility issues, Defendant, through its website

violates Title III of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101 et

seq., and the New York City Human Rights Law (“NYCHRL”), N.Y.C. Administrative Code §§

8-101 et seq., as the website is not equally accessible to blind and visually impaired consumers.

       6.      Plaintiff and the Class bring this action against Defendant seeking, inter alia, a

preliminary and permanent injunction, other declaratory relief, statutory damages, actual and



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punitive damages, pre-judgment and post-judgment interest, and reasonable attorneys’ fees and

expenses.

                                 JURISDICTION AND VENUE

        7.      This Court has subject-matter jurisdiction over the Plaintiff’s ADA claims pursuant

to 28 U.S.C. § 1331.

        8.      This Court has supplemental jurisdiction over the Plaintiff’s NYCHRL claims

pursuant to 28 U.S.C. § 1367.

        9.      This Court is empowered to issue declaratory relief under 28 U.S.C. §§ 2201 and

2202.

        10.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(2) and (c)

because: (i) Defendant’s unlawful course of conduct occurred in large part in this District; and (ii)

Plaintiff attempted to use the website in this District.

        11.     Defendant is subject to personal jurisdiction in this District. Defendant operates

and distributes its products throughout the United States, including to consumers and others in this

District. Specifically, the Flying Dog merchandise described in paragraph 3, including the

Brewhouse "Cut the Leash" t-shirt, is available on Defendant’s website for delivery in New York.

It was within this District that Plaintiff is being denied the full use and enjoyment of the goods

offered on Defendant’s website. As such, it is here that Defendant is committing a substantial part

of the acts or omissions that caused injury to Plaintiff and the Class in violation of the ADA and

the NYCHRL.

                                              PARTIES

Plaintiff

        12.     Plaintiff is a resident of New York, New York. Plaintiff is a blind, visually

impaired, handicapped person and a member of a protected class of individuals as defined under

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42 U.S.C. § 12102(1)-(2) – and the regulations implementing the ADA set forth at 28 CFR §§

36.101 et seq. – and as defined under the NYCHRL.

Defendant

       13.     Defendant is a Limited Liability Company registered in Delaware. Defendant

conducts business in New York through its website, which is a place of public accommodation as

defined under 42 U.S.C. § 12181(7).

                               SUBSTANTIVE ALLEGATIONS

The Internet, which is an integral part of modern society, may only be accessed by visually
impaired individuals through screen-readers.

       14.     For sighted, blind, and visually impaired persons alike, the Internet has become a

critical source of information and an invaluable tool for shopping, conducting business,

entertainment, and countless other activities. Per a study by the MIT Technology Review

published in 2018, the average American spends 23.6 hours of every week online. According to

studies cited by CNBC, as of 2018, Americans spent 234 million hours shopping online during the

average workday. Thus, in today’s tech-savvy, instantaneous world of online commerce, blind

and visually impaired people must have the ability to access websites so that they too can enjoy

the same convenience and savings that online shopping provides to sighted New Yorkers. The

technology that aides blind and visually impaired Internet users to do this is known as screen-

reading software. In short, this software vocalizes the visual information found on a website so

that blind and visually impaired can understand it.

       15.     The Covid-19 Pandemic has made how critical the Internet is for everyday living.

At the start of the pandemic, companies across the nation were forced to shut down physical

locations. Nonetheless, many major life activities were able to continue on throughout this time,

albeit virtually, – this included schooling, court room procedures, the selling of products and or


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services, and much more. This need to move online caused a major uptick in the use of the Internet.

According to Pew Research, in 2021 three out of ten American adults are almost constantly online,

up from approximately two in ten in 2015. This increase in overall use by Americans is causing a

massive shift in how consumers make purchases. The financial firm UBS is projecting that, by

2026, e-commerce sales will account for 25% of all sales (up from 18% in 2021) and that up to

50,000 physical retail stores will close.

       16.     In 2017, the Centers for Disease Control (“CDC”) estimated that the blind

population in the United States reached approximately 1.7 million. The American Foundation for

the Blind’s website states that the 2019 American Community Survey (conducted by the U.S.

Census Bureau) identified an estimated 388,524 New Yorkers with vision difficulty.

       17.     To ensure that blind and visually impaired individuals are able to use computers

and devices, several screen-reading software programs have been created for them. Some of these

programs are available for purchase and other machines have built-in integrated software.

NonVisual Desktop Access, otherwise known as “NVDA” is currently one of the most popular

screen-reading software programs available.

       18.     NVDA has many features for those who are blind and visually impaired and the

software supports many popular applications including Firefox, Google Chrome, Microsoft Word,

email applications, and music players. The built-in speech synthesizer within NVDA dictates text

on a screen in over 50 languages. When a website is properly coded, blind and visually impaired

individuals are able to use NVDA and other screen-readers to navigate a website and make

purchases there like sighted individual can.

A company’s website must accommodate the use of screen readers

       19.     NVDA, and other screen-reading programs like it, can only read the code that a

website provides. As a result, if a website is not properly designed and coded, the screen-reader
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will not be able to relay information on the website to the user of the screen-reader. Without such

coding, blind and visually impaired users cannot navigate a website on their own.

       20.     The international website standards organization, the World Wide Web

Consortium, known universally as W3C, has published an updated version (version 2.1) of the

Web Content Accessibility Guidelines (“WCAG”). WCAG 2.1 is a set of well-established

guidelines promulgated to ensure that websites are accessible to blind and visually impaired

people. Non-compliant websites usually contain numerous common access barriers that prevent

the blind and visually impaired from enjoying the Internet in the same way sighted individuals do.

Defendant’s website discriminates against the visually impaired by containing access
barriers.

       21.     Defendant is a craft beer brewer, who offers various merchandise products on their

website which includes Brewhouse "Cut the Leash" t-shirt, which Plaintiff desires. Defendant

offers these products on its Website so that, inter alia, the general public throughout the nation,

including in New York, can transact business on it.

       22.     Plaintiff is visually impaired and/or legally blind. Plaintiff uses the NVDA screen-

reader to access websites on the Internet. As described above, during Plaintiff’s repeated visits to

Defendant’s website—the first occurring on August 30, 2022, the second time occurring on

October 17, 2022, and most recently on October 23, 2022—Plaintiff encountered the access

barriers set forth in paragraph 5 above that denied Plaintiff full and equal access to Defendant’s

website and the items sold there. These access barriers were the reason that Plaintiff has been

repeatedly denied the opportunity to purchase the Brewhouse "Cut the Leash" t-shirt and other

products available on the website.




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       23.     Plaintiff still wants to purchase the Brewhouse "Cut the Leash" t-shirt for reasons

previously stated in paragraph 2 and 3. Plaintiff unequivocally intends to return to the website to

complete the desired purchase of the t-shirt, as soon as the accessibility barriers are cured.

       24.     However, currently, it is Defendant’s policy and practice to deny Plaintiff and the

Class access to its website and to deny them the ability to purchase the Flying Dog merchandise

offered there to the general public. Due to Defendant’s failure and refusal to remove access

barriers to its website, Plaintiff and the Class have been—and currently are being—denied equal

access to the website and the merchandise offered thereon.

       25.     As Defendant’s website is available through the Internet, and thus available around

the clock from any Internet-connected device, Plaintiff may easily return to the website and

purchase the Flying Dog merchandise once the barriers to accessibility are removed. Plaintiff

awaits the correction of the accessibility barriers, so that her desired purchase may be completed.

Defendant must remove the website’s accessibility barriers

       26.     The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full and

equal access on August 30, 2022, October 17, 2022, and October 23, 2022. This denial deterred

Plaintiff in the past, and continues to deter Plaintiff presently, from completing a purchase on the

website until such access barriers are cured. If the website were equally accessible to all, as

required under the ADA, Plaintiff and the Class could independently navigate the website and

complete a desired transaction as sighted individuals do.

       27.     As Plaintiff has been repeatedly denied the ability to make a purchase on

Defendant’s website, Plaintiff has actual knowledge of the access barriers that make Defendant’s

website inaccessible and not independently unusable by blind and visually impaired people. This

denial of access to the Flying Dog merchandise offered on Defendant’s website demonstrates that

Defendant is engaging in acts of intentional discrimination. Especially because simple compliance
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with the WCAG 2.1 Guidelines would provide Plaintiff and the Class equal access to the website.

Currently, Plaintiff alleges, without limitation, that Defendant is engaging in the following acts of

intentional discrimination:

                 (a)     constructing and maintaining a website that is inaccessible to visually

 impaired individuals, including Plaintiff and the Class;

                 (b)     failing to construct and maintain a website that is sufficiently intuitive so

 as to be equally accessible to visually impaired individuals, including Plaintiff and the Class;

 and

                 (c)     failing to take actions to correct these access barriers in the face of

 substantial harm and discrimination to blind and visually impaired consumers (a protected class),

 including Plaintiff and the Class.

       28.     Defendant uses standards, criteria or methods of administration that have the effect

of discriminating or perpetuating the discrimination of others, as alleged herein. To correct

Defendant’s current inaccessibility, Defendant must retain a qualified consultant acceptable to

Plaintiff to assist Defendant in complying with WCAG 2.1 guidelines. This is necessary as

Defendant lacks a corporate policy or a current qualified individual to aid in this realm, as shown

through the current inaccessibility of their website. Defendant must cooperate with the agreed

upon consultant to:

                 (a)   train its employees and agents who develop the website on accessibility

 compliance under the WCAG 2.1 guidelines;

                 (b)   regularly check the accessibility of the website under the WCAG 2.1

 guidelines;




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                   (c)   regularly test user accessibility by blind or vision-impaired persons to

    ensure that Defendant’s website complies under the WCAG 2.1 guidelines; and

                   (d)   develop an accessibility policy (clearly posted on its website(s)) with

    contact information for users to report accessibility-related problems.

         29.     If the website were accessible, Plaintiff and the Class would be able to

independently purchase Flying Dog merchandise Defendant sells there, as every sighted individual

can. Defendant has, upon information and belief, invested substantial sums in developing and

maintaining its website and has generated significant revenue thereon. The revenues procured by

Defendant far exceed the associated cost of making the website equally accessible to visually

impaired consumers.

                                CLASS ACTION ALLEGATIONS

         30.     Plaintiff brings this action as a nationwide class action pursuant to Rules 23(a) and

(b)(2) of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), both individually and on behalf

of the Class. Plaintiff also seeks certification of a sub-class of all visually impaired and/or legally

blind individuals in the City of New York who have attempted to access Defendant’s website and

have been denied access to the equal enjoyment of the goods offered on the website during the

Class Period (the “NYC Sub-Class”).2

         Excluded from the Class are Defendant, any entity in which Defendant has a controlling

interest, and the officers, directors, affiliates, legal representatives, heirs, successors, subsidiaries,

and/or assigns of any such individual or entity.




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  The Class and NYC Sub-Class are hereinafter identified, collectively, as “the Class,” unless
otherwise stated.

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       31.     Upon information and belief, there are hundreds of members in the Class who have

suffered from Defendant’s conduct complained of herein during the Class Period. Accordingly,

joinder is impracticable pursuant to Fed. R. Civ. P. Rule 23(a)(1).

       Common issues of fact or law predominate over individual issues within the meaning of

Fed. R. Civ. P. Rule 23(a)(2). Common issues of law and fact include, but are not limited to,

whether:

                 (a)   the website is a place of “public accommodation” under the ADA;

                 (b)   the website is a “place or provider of public accommodation” under the

 NYCHRL; and

                 (c)     the website denies the full and equal enjoyment of its products, services,

 facilities, privileges, advantages, or accommodations to people with visual disabilities, violating

 the ADA and/or NYCHRL;

       32.     Plaintiff’s interests are typical of, and not antagonistic to the interests of, the Class

and the claims arising out of Defendant’s common uniform course of conduct are all based upon

the same facts and legal theories.

       33.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff has

retained competent counsel experienced with class actions and civil rights litigation who intend to

vigorously prosecute this action. Plaintiff has similar legal bases for statutory and punitive

damages that are sought on behalf of members of the Class in this action. Class certification of

the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to

act on grounds generally applicable to the Class, making appropriate both declaratory and

injunctive relief with respect to Plaintiff and the Class as a whole.




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        34.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3). A

class action is superior to other available methods for the fair and efficient adjudication of this

controversy since a multiplicity of actions could result in an unwarranted burden on the court

system and could create the possibility of inconsistent judgments. Moreover, a class action will

allow redress for many persons whose claims would otherwise be too small to litigate individually.

There will be no difficulty in the management of this action as a class action.

        35.     Class members’ identities can be identified by Defendant’s records. Plaintiff

reserves the right to amend the definition of the Class at any point of the litigation, especially after

being provided the opportunity to review the documents and records produced in discovery.

                                              COUNT I

   Against Defendant for Violations of the ADA, 42 U.S.C. §§ 12101 et seq., on behalf of
                                 Plaintiff and the Class

        36.     Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

        37.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
        any place of public accommodation by any person who owns, leases (or leases to), or
        operates a place of public accommodation.

42 U.S.C. § 12182(a).

        38.     Defendant’s website is a place of public accommodation within the definition of 42

U.S.C. § 12181(7). The website is a service that is offered to the general public, and as such, must

be equally accessible to all potential consumers.

        39.     Under 42 U.S.C. § 12182(b)(1)(A)(i), it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in – or benefit from – the products,

services, facilities, privileges, advantages, or accommodations of an entity.

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       40.      Under 42 U.S.C. § 12182(b)(1)(A)(ii), it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the products, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

to other individuals.

       41.      Under 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii), unlawful discrimination also includes,

among other things:

       “failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities . . . and
       a failure to take such steps as may be necessary to ensure that no individual with a
       disability is excluded . . . .”

       42.      Plaintiff is a member of a protected class of persons who has a physical disability

that substantially limits the major life activity of sight within the meaning of 42 U.S.C. §§

12102(1)(A)-(2)(A).

       43.      Furthermore, Plaintiff has been denied full and equal access to the website, has not

been provided goods that are provided to other patrons who are not disabled, and has been provided

goods that are inferior to the services provided to non-disabled persons.

       44.      Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                                            COUNT II

    Against Defendant for Violations of the New York City Human Rights Law, N.Y.C.
    Administrative Code §§ 8-101 et seq., on behalf of Plaintiff and the NYC Sub-Class

       45.      Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

       46.      N.Y.C. Administrative Code § 8-107(4)(a) provides that:

       “It shall be an unlawful discriminatory practice for any person, being the owner,
       franchisor, franchisee, lessor, lessee, proprietor, manager, superintendent, agent or

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       employee of any place or provider of public accommodation, because of . . .
       disability . . . directly or indirectly, to refuse, withhold from or deny to such person,
       the full and equal enjoyment on equal terms and conditions, of any of the
       accommodations, advantages, facilities or privileges of the place or provide of
       public accommodation.”

       47.     Defendant’s website is a “sales establishment” and “public accommodation” within

the definition of N.Y.C. Admin. Code § 8-102(9). Defendant owns and operates its website,

making it a “person” within the meaning of N.Y.C. Admin. Code § 8-102(1).

       48.     By maintaining a website with accessibility barriers, Defendant violates N.Y.C.

Administrative Code § 8-107(4)(a). This inaccessibility denies blind patrons full and equal access

to the facilities, products, and services that Defendant makes available to the non-disabled public.

       49.     Under N.Y.C. Admin. Code § 8-107(15)(a), Defendant is required to:

       “make reasonable accommodation to the needs of persons with disabilities . . . it is
       an unlawful discriminatory practice for any person prohibited by the provisions of
       [§ 8-107 et seq.] from discriminating on the basis of disability not to provide a
       reasonable accommodation to enable a person with a disability to . . . enjoy the right
       or rights in question provided that the disability is known or should have been
       known by the covered entity.”

       50.     Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and

§ 8-107(15)(a) in that Defendant has constructed and maintained a website with accessibility

barriers and failed to take action to fix the access barriers. These violations are ongoing.

       51.     As such, under § 8-107(4)(a) and/or its implementing regulations, Defendant

discriminates, and will continue in the future to discriminate, against Plaintiff and the NYC Sub-

Class. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff and the NYC Sub-Class will continue to suffer irreparable harm. Plaintiff is also entitled

to compensatory damages, as well as civil penalties and fines under §§ 8-120(8) and 8-126(a) for

each offense, as well as punitive damages pursuant to § 8-502.


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                                            COUNT III

        Against Defendant for Declaratory Relief, on behalf of Plaintiff and the Class

       52.      Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

       53.      Defendant’s website contains access barriers denying blind customers full and

equal access to the products. The website violates 42 U.S.C. §§ 12182, et seq., and N.Y.C. Admin.

Code § 8-107, et seq., which prohibit discrimination against the blind.

       54.      A judicial declaration is, therefore, necessary, and appropriate.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a judgment:

                 (a)   awarding Plaintiff statutory money damages, actual damages, and punitive

 damages, including pre-judgment and post-judgment interest;

                 (b)   granting a preliminary and permanent injunction requiring Defendant to

 take all the steps necessary to make its website fully comply with the requirements set forth in

 the ADA and NYCHRL;

                 (c)   providing a declaration that Defendant owns, maintains and/or operates its

 website in a manner that discriminates against the blind and visually impaired;

                 (d)   certifying the Class and the NYC Sub-Class under Fed. R. Civ. P. 23(a) &

 (b)(2) and/or (b)(3), appointing Plaintiff as class representative, and Plaintiff’s attorneys as class

 counsel;

                 (e)   awarding attorneys’ fees and costs, and other relief; and

                 (f)   awarding such other relief as this Court deems just and proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.

DATED: November 9, 2022                   MIZRAHI KROUB LLP




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